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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

AARON SIEGEL; JASON COOK;
JOSEPH    DELUCA;  NICOLE                )
CUOZZO; TIMOTHY VARGA;                   )
CHRISTOPHER STAMOS; KIM                  )
HENRY; and ASSOCIATION OF                )
NEW JERSEY RIFLE & PISTOL                )     Civil Action No. 1:22-cv-7463-
CLUBS, INC.,                             )              KMW-AMD
                                         )
                  Plaintiffs,            )        Oral Argument Requested
                                         )
      v.
                                         )      Motion Date: January 9, 2023
MATTHEW PLATKIN, in his official         )
capacity as Attorney General of New      )           CIVIL ACTION
Jersey,                                  )
                                         )
PATRICK J. CALLAHAN, in his              )
official capacity as Superintendent of   )     (ELECTRONICALLY FILED)
the New Jersey Division of State         )
Police,                                  )
                  Defendants.

           PLAINTIFFS’ BRIEF IN SUPPORT OF THEIR MOTION
           FOR A TEMPORARY RESTRAINING ORDER AND FOR
           A PRELIMINARY INJUNCTION

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                                  INTRODUCTION

      “The Second Amendment’s plain text . . . presumptively guarantees [the
      people] a right to “bear” arms in public for self-defense.”

-New York State Rifle & Pistol Association v. Bruen, 142 S. Ct. 2111, 2135 (2022).

      “[D]oes anybody really want to put more guns in the hands of people that
      live in Paterson and Newark and Elizabeth and Camden . . . ?”

-New Jersey Assemblyman John McKeon, Co-Sponsor of A4769 (the legislation at issue

in this case), at a hearing of the New Jersey Assembly Judiciary Committee on November

14, 2022.

https://njleg.state.nj.us/archived-media/2022/AJU-meeting-list/media-
player?committee=AJU&agendaDate=2022-11-14-10:00:00&agendaType=M&av=A,
at marker 1:54:20. (Last visited 12/23/22)

      For 56 years, New Jersey required a person to first prove that they meet the nearly

impossible “justifiable need” standard in order to obtain a permit to carry a handgun

pursuant to N.J.S 2C:58-4 (“Handgun Carry Permit”). Through that mechanism, New

Jersey for decades has broadly suppressed the people’s right to carry a handgun for self-

defense. But the Supreme Court finally put a stop to that earlier this year, holding that

States cannot suppress the fundamental right of the people to carry arms in public to

protect themselves and their loved ones by imposing a “special need” requirement. New

York State Rifle & Pistol Association v. Bruen, 142 S. Ct. 2111, 2135 (2022).1



1
 “Justifiable need” was formally sent to its grave by order of the court in Mazahreh v.
Platkin, 1:20-cv-17598, ECF No. 51 (D.N.J. Oct. 12, 2022).

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      Almost immediately, in open defiance of the Supreme Court, New Jersey

responded with A4769—a comprehensive new scheme to, once again (but by a new

method), suppress the fundamental right of the people to carry arms in public. The new

law prohibits the carry of arms nearly everywhere in the State, including, by default, on

all private property, in common public places, and even in one’s own vehicle. In other

words, although people now have a fundamental right to obtain permits to carry firearms

thanks to Bruen, New Jersey has made sure they cannot actually use those permits in

most places, by falsely labelling vast swaths of common public areas as “sensitive

places” where firearms carry is categorically prohibited. This creates the illusion that

carry rights are upheld, while it actually blocks those rights nearly everywhere. In

multiple legislative committee hearings and floor debates, lawmakers sponsoring

A4769 were repeatedly asked by their colleagues where citizens can lawfully carry

handguns under the bill, and each time they were asked, they refused to answer. That

is because the answer is “almost nowhere” which would reveal their sleight of hand.

      But even this new and improper place-based restriction was not enough for

lawmakers. New Jersey also made it more difficult and costly to even obtain the predicate

permit, improperly ballooning the fee four-fold and adding arbitrary new hurdles for

applicants and new impermissible discretionary prerogatives for licensing officials to

deny permits on a whim.

      Even with a carry permit in hand, the State now requires a person to purchase an



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insurance policy just to exercise the fundamental right to bear arms—as if it were

conceivable to require insurance to read a book, attend church, write a blog post, or attend

a government meeting.

      Compounding all these problems, New Jersey drafted its new law not with a fine

point pen, but with a giant paint roller. By speaking in sweeping, broad, undefined, and

unclear terms, the law is designed to ensure that the people cannot be quite sure what they

may and may not do, thereby massively chilling the right to bear arms.

      This litany of burdens on Second Amendment rights makes clear that, despite the

Supreme Court’s ruling just months old, New Jersey simply does not want law abiding

people to be able to carry handguns for self-defense. In a moment of astonishing candor,

A4769 co-sponsor Assemblyman John McKeon admitted as much in a hearing before the

New Jersey Assembly Judiciary Committee on November 14, 2022:

      [D]oes anybody really want to put more guns in the hands of people that live in
      Paterson and Newark and Elizabeth and Camden . . . ?

https://njleg.state.nj.us/archived-media/2022/AJU-meeting-list/media-
player?committee=AJU&agendaDate=2022-11-14-10:00:00&agendaType=M&av=A,
at marker 1:54:20. (Last visited 12/23/22)

      Assemblyman McKeon and others may believe the Second Amendment should be

relegated to a “second-class right.” Bruen, 142 S. Ct. at 2156. But that is not their choice

to make. The Supreme Court has spoken, and the law-abiding citizens of Paterson,

Newark, Elizabeth, and Camden—just like others across New Jersey—have the same

constitutional rights as all Americans.


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      The bottom line is that before Bruen, New Jersey blocked right to carry by

suppressing issuance of permits.       After Bruen, New Jersey is blocking carry by

prohibiting it nearly everywhere.

      This Court should issue a temporary restraining order and preliminary injunction

to stop New Jersey’s latest effort to end-run a constitutional right.

                                     BACKGROUND

      The Second Amendment guarantees “the right of the people to keep and bear

Arms.” U.S. CONST. amend. II. Through the Second Amendment, the People, enshrined

in their fundamental charter the right to “carry weapons in case of confrontation” for the

“core lawful purpose of self-defense,” District of Columbia v. Heller, 554 U.S. 570, 592,

630 (2008). They did not mean to leave the freedom to exercise that right at the mercy of

the very government whose hands they sought to bind. No, “[t]he very enumeration of

the right takes out of the hands of government—even the Third Branch of Government—

the power to decide on a case-by-case basis whether the right is really worth insisting

upon.” Id.; see also McDonald v. City of Chicago, 561 U.S. 742, 778, 791 (2010).

      In the 12 years following McDonald, many lower courts effectively lost their way,

treating the Second Amendment as am inferior stepchild. Many of the lower courts

adopted an improper interest-balancing approach that allowed the courts, using means-

ends scrutiny analysis, to balance away the right in favor of upholding nearly every law

that came before them. Bruen 142 S. Ct. at 2131.



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      Bruen roundly rejected such interest balancing. Id. Bruen held that States may not

regulate the right to keep and bear arms by deciding how important or valuable the

regulation is compared with the exercise of the right itself. That calculation was already

performed when the Second Amendment was adopted in 1791, and that balancing was

decided in favor of the fundamental right of the people to keep and carry arms for lawful

purposes in most places and in most situations, subject to narrow restrictions in

exceptional circumstances. Heller, 554 U.S. at 635; Bruen 142 S. Ct. at 2123.

      The net result is that the power of a State to regulate the right to keep and bear

arms is severely limited by the historical tradition of the right to keep and bear arms as

understood at the time of the Founding. In Bruen, the Court explained it as follows:

   When the Second Amendment’s plain text covers an individual’s conduct, the Con-
   stitution presumptively protects that conduct. The government must then justify its
   regulation by demonstrating that it is consistent with the Nation’s historical tradition
   of firearm regulation. Only then may a court conclude that the individual’s conduct
   falls outside the Second Amendment’s “unqualified command.”

Bruen, 142 S. Ct. at 2129-30.

      New Jersey chose to thumb its nose at the Supreme Court and the Constitution by

enacting A4769, a law wildly and intentionally at odds with Bruen that violates the

fundamental constitutional rights of all New Jerseyans. Accordingly, Plaintiffs

immediately need temporary, preliminary, and ultimately permanent injunctive relief.

 A. New Jersey’s Prior Permit Regime Burdens the Right to Public Carry.

      New Jersey law forbids any person to “ha[ve] in his possession any handgun . . . ,



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without first obtaining a permit to carry the same.” N.J.S.A. 2C:39-5(b). While state law

provides certain exceptions to this ban—including one for “keeping or carrying [a

firearm] about [one’s] place of business, residence, premises or other land owned or

possessed by him,” id. § 2C:39-6(c), these exceptions do not allow the carrying of a

handgun in public, either openly or concealed, without a permit. Violating this ban is a

crime in the second degree, punishable by between five and ten years imprisonment and

a fine of up to $150,000. Id. §§ 2C:39-5(b), 2C:43-3(a)(2), 2C:43-6(a)(2).

      New Jersey allows an individual to carry a handgun in public only if he first obtains

a permit (“Handgun Carry Permit”). Prior to A4769, to be eligible for a Handgun Carry

Permit, an applicant had to satisfy certain statutory criteria. For example, he must not

have been convicted of any offense of domestic violence; must not be addicted to

controlled substances, mentally infirm, or an alcoholic; and must not be subject to certain

restraining orders. Id. §§ 2C:58-4(c); 2C:58-3(c). An applicant must also pass criminal

and mental health background checks, id. § 2C:58-4(c), had to provide three reputable

references who certify that he “is a person of good moral character,” id. § 2C:58-4(b),

and must have satisfied extensive firearms training requirements, N.J.A.C. 13:54-2.4(b).

      In addition to these rigorous screening and training requirements, a law-abiding

citizen could only be granted a Handgun Carry Permit if he demonstrated “that he has a

justifiable need to carry a handgun.” N.J.S.A. 2C:58-4(c).

      N.J.S.A. 2C:58-4(c) previously provided that “in the case of a private citizen,” the

“justifiable need” requirement was satisfied only if the applicant could “specify in detail

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the urgent necessity for self-protection, as evidenced by specific threats or previous

attacks, which demonstrate a special danger to the applicant’s life that cannot be avoided

by reasonable means other than by issuance of a permit to carry a handgun.” Id.

      In interpreting this “justifiable need” requirement, New Jersey’s Supreme Court

determined that “[g]eneralized fears for personal safety are inadequate, and a need to

protect property alone does not suffice.” In re Preis, 573 A.2d 148, 152 (N.J. 1990).

Accordingly, typical law-abiding citizens of New Jersey—the vast majority of

responsible citizens who could not “demonstrate a special danger to [their] life” as

“evidenced by specific threats or previous attacks,” N.J.S.A. 2C:58-4(C)—effectively

remained subject to a flat ban on carrying handguns outside the home.

      Through the “justifiable need” rule, for 56 years, New Jersey prevented nearly all

New Jerseyans from exercising the basic, fundamental right to carry a firearm for self-

defense in public.

 B.   In Bruen, the Supreme Court Invalidates Permitting Regimes Like New
      Jersey’s.

      On June 23, 2022, in Bruen, the Supreme Court swept away the notion that States

could materially interfere with the fundamental right to carry a handgun in public for self-

defense. The Court made clear that, by default, the people have a fundamental right to

carry handguns, and they have the right to do so in most places and under most cir-

cumstances. That is, public carry of handguns is the rule, not the exception.

      In Bruen, the Court invalidated the easiest and most common method of denying


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the fundamental right to carry a handgun—requiring that an applicant for a permit to

carry a handgun show some sort of “need.” Under the New York law (at issue in Bruen)

the requirement was called “proper cause,” which was similar to New Jersey’s “justifiable

need.” The Court did not merely rule that requiring a showing of “need’ is

unconstitutional. The Court ruled that any scheme that broadly impairs the right to carry

a handgun is unconstitutional. The Court was unambiguous that a general right to carry

is the irreducible constitutional minimum, and any attempt to interfere with that right is

constitutionally suspect.

C.    New Jersey Announces “Massive Resistance” to Bruen and Re-tools Its
      Permitting Regime in A4769 to Burden Public Carry.

      On June 24, 2022, one day after the Bruen decision, New Jersey Governor Phil

Murphy held a press conference. (https://www.youtube.com/watch?v=EJ9ZJR-Sk24).

Like his predecessors in the Southern states in 1954 in the wake of Brown v. Board of

Education, Governor Murphy blasted the Supreme Court’s decision upholding fundamen-

tal constitutional rights and vowed to find ways to undermine and/or circumvent the

ruling. In addition to announcing a wish list of new legislation aimed at preventing law

abiding individuals from carrying handguns, Governor Murphy signed Executive Order

299 (https://nj.gov/infobank/eo/056murphy/pdf/EO-299.pdf), which declared the Bruen

decision “deeply flawed,” stated that “the vast majority of New Jerseyans do not support




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relaxing restrictions on who may carry a gun in public,”2 and directed all State agencies

to “immediately review their statutes, rules, regulations, and program requirements to

identify actions that may be taken under existing authority determining whether, and in

what manner, firearms may be carried, displayed, or otherwise regulated.” Id. In other

words, the Governor announced his clear intention to resist the Supreme Court’s ruling

in Bruen in any and every way possible.

      On July 1, 2022, New York fired its first salvo at the broadside of Bruen and failed

to sink it.3 New Jersey then followed suit. On December 22, 2022, Governor Murphy


2
 To the contrary, a November poll from Marquette University Law School shows that
64% of the people either “strongly favor” or “somewhat favor” the Bruen decision.
https://law.marquette.edu/poll/wp-
content/uploads/2022/11/MLSPSC11Toplines_CourtItems.html#J2:_Expand_2nd_Ame
ndment.
3
 On July 1, 2022, after calling an extraordinary session of the legislature, New York
enacted a new law, Senate Bill S51001, which placed massive new restrictions on the
carrying of handguns in public through the state. See NEW YORK GOV.’S PRESS
OFFICE, Governor Hochul Signs Landmark Legislation to Strengthen Gun Laws and
Bolster Restrictions on Concealed Carry Weapons in Response to Reckless Supreme
Court Decision, July 1, 2022, available at https://on.ny.gov/3nXWrvA (last visited Dec.
1, 2022).

Multiple lawsuits were commenced challenging S51001. As a result of these lawsuits,
major portions of S51001 were enjoined, first through temporary restraining orders
(“TRO”), and then through preliminary injunctions (“PI”). See Antonyuk v. Hochul, 2022
WL 5239895 *10 (N.D.N.Y. Oct. 6, 2022) (TRO: “Simply stated, instead of moving
toward becoming a shall-issue jurisdiction, New York State has further entrenched itself
as a shall-not-issue jurisdiction.”); Hardaway v. Negrelli, 2022 WL 11669872 *15
(W.D.N.Y. Oct. 20, 2022) (TRO: “The Constitution requires that individuals be permitted
to use handguns for the core lawful purpose of self-defense. . . . And it protects that right
outside the home and in public.”); Hardaway v. Negrelli, 2022 WL 16646220 (W.D.N.Y.

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signed into law A4769—solidifying New Jersey’s defiance of the Supreme Court and its

ruling in Bruen. (See Declaration of Daniel L. Schmutter, Exhibit A). A4769 picks up

where “justifiable need” left off. A4769 so comprehensively precludes the lawful carry

of handguns in public that one would not know, by reading A4769, that the Supreme

Court ever decided Bruen. Bruen holds that the Constitution precludes a State from

broadly preventing the law abiding from carrying a handgun in public. A4769 does

exactly that which the Constitution forbids.

      First, A4769 creates an enormous list of places and circumstances where carrying

a handgun is off limits, including in one’s own car and, presumptively, all private

property. Handgun carry is banned in nearly all common public places, places where the

people have a fundamental constitutional right to defend themselves with a handgun in

the event they encounter violent crime—places such as parks, beaches, theatres, stadiums,

restaurants, hospitals, malls, casinos, museums, libraries, trains, buses, and even one’s

own car. The effect is that there are almost no places in New Jersey, other than one’s own

home, where one can lawfully carry a handgun—exactly the state of affairs under

“justifiable need” prior to Bruen.

      Second, A4769 imposes massive fees increases and a new requirement to purchase

liability insurance, both calculated to impose a substantial financial burden as an obstacle



Nov. 3, 2022) (PI); Antonyuk v. Hochul, 2022 WL 16744700 (W.D.N.Y. November 7,
2022) (PI); Christian v. Negrelli, 2022 WL 17100631 (W.D.N.Y.) (PI).

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to exercising the right to bear arms in public.

       Third, A4769 creates new and onerous procedures and standards for obtaining a

Handgun Carry Permit—all obvious obstacles to exercising the fundamental right to bear

arms in public.

       1.         Prohibited Sensitive Places

       A47694 renders nearly the entire State of New Jersey a “sensitive place” where

handgun carry is prohibited. Section 7 of A4769 provides in pertinent part as follows:

    7. (New section) Places where the carrying of a firearm or destructive device is
       prohibited.

       a. Except as otherwise provided in this section and in the case of a brief, incidental
          entry onto property, which shall be deemed a de minimis infraction within the
          contemplation of N.J.S.2C:2-11, it shall be a crime of the third degree for any
          person, other than a person lawfully carrying a firearm within the authorized
          scope of an exemption set forth in N.J.S.2C:39-6, to knowingly carry a firearm
          as defined in subsection f. of N.J.S.2C:39-1 and a crime of the second degree to
          knowingly possess a destructive device as defined in subsection c. of
          N.J.S.2C:39-1 in any of the following places, including in or upon any part of
          the buildings, grounds, or parking area of [emphasis added]:

            (1)      a place owned, leased, or under the control of State, county or municipal
                     government used for the purpose of government administration,
                     including but not limited to police stations;

            (2)      a courthouse, courtroom, or any other premises used to conduct judicial
                     or court administrative proceedings or functions;

            (3)      a State, county, or municipal correctional or juvenile justice facility, jail
                     and any other place maintained by or for a governmental entity for the
                     detention of criminal suspects or offenders;

4
 The full text of A4769 is attached to the Declaration of Daniel L. Schmutter as Exhibit
A.

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         (4)   a State-contracted half-way house;

         (5)   a location being used as a polling place during the conduct of an election
               and places used for the storage or tabulation of ballots;

         (6)   within 100 feet of a place where a public gathering, demonstration or
               event is held for which a government permit is required, during the
               conduct of such gathering, demonstration or event;

         (7)   a school, college, university or other educational institution, and on any
               school bus;

         (8)   a child care facility, including a day care center;

         (9)   a nursery school, pre-school, zoo, or summer camp;

         (10) a park, beach, recreation facility or area or playground owned or
              controlled by a State, county or local government unit, or any part of such
              a place, which is designated as a gun free zone by the governing authority
              based on considerations of public safety;

         (11) youth sports events, as defined in N.J.S.5:17-1, during and immediately
              preceding and following the conduct of the event, except that this
              provision shall not apply to participants of a youth sports event which is
              a firearm shooting competition to which paragraph (3) of subsection b. of
              section 14 of P.L.1979, c.179 (C.2C:58-6.1) applies;

         (12) a publicly owned or leased library or museum;

         (13) a shelter for the homeless, emergency shelter for the homeless, basic
              center shelter program, shelter for homeless or runaway youth, children’s
              shelter, child care shelter, shelter for victims of domestic violence, or any
              shelter licensed by or under the control of the Juvenile Justice
              Commission or the Department of Children and Families;

         (14) a community residence for persons with developmental disabilities, head
              injuries, or terminal illnesses, or any other residential setting licensed by
              the Department of Human Services or Department of Health;



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         (15) a bar or restaurant where alcohol is served, and any other site or facility
              where alcohol is sold for consumption on the premises;

         (16) a Class 5 Cannabis retailer or medical cannabis dispensary, including any
              consumption areas licensed or permitted by the Cannabis Regulatory
              Commission established pursuant to section 31 of P.L.2019, c.153
              (C.24:6I-24);

         (17) a privately or publicly owned and operated entertainment facility within
              this State, including but not limited to a theater, stadium, museum, arena,
              racetrack or other place where performances, concerts, exhibits, games
              or contests are held;

         (18) a casino and related facilities, including but not limited to appurtenant
              hotels, retail premises, restaurant and bar facilities, and entertainment and
              recreational venues located within the casino property;

         (19) a plant or operation that produces, converts, distributes or stores energy
              or converts one form of energy to another;

         (20) an airport or public transportation hub;

         (21) a health care facility, including but not limited to a general hospital,
              special hospital, psychiatric hospital, public health center, diagnostic
              center, treatment center, rehabilitation center, extended care facility,
              skilled nursing home, nursing home, intermediate care facility,
              tuberculosis hospital, chronic disease hospital, maternity hospital,
              outpatient clinic, dispensary, assisted living center, home health care
              agency, residential treatment facility, residential health care facility,
              medical office, or ambulatory care facility;

         (22) a facility licensed or regulated by the Department of Human Services,
              Department of Children and Families, or Department of Health, other
              than a health care facility, that provides addiction or mental health
              treatment or support services;

         (23) a public location being used for making motion picture or television
              images for theatrical, commercial or educational purposes, during the
              time such location is being used for that purpose;



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           (24) private property, including but not limited to residential, commercial, in-
                dustrial, agricultural, institutional or undeveloped property, unless the
                owner has provided express consent or has posted a sign indicating that
                it is permissible to carry on the premises a concealed handgun with a valid
                and lawfully issued permit under N.J.S.2C:58-4, provided that nothing in
                this paragraph shall be construed to affect the authority to keep or carry
                a firearm established under subsection e. of N.J.S.2C:39-6; and

           (25) any other place in which the carrying of a firearm is prohibited by statute
                or rule or regulation promulgated by a federal or State agency.

      b.
           (1)   A person, other than a person lawfully carrying a firearm within the
                 authorized scope of an exemption set forth in subsection a., c., or l. of
                 N.J.S.2C:39-6, who is otherwise authorized under the law to carry or
                 transport a firearm shall not do so while in a vehicle in New Jersey, unless
                 the handgun is unloaded and contained in a closed and securely fastened
                 case, gunbox, or locked unloaded in the trunk of the vehicle.

           (2)   A holder of a valid and lawfully issued permit to carry a handgun shall
                 not leave a handgun outside of their immediate possession or control
                 within a parked vehicle, unless the handgun is unloaded and contained in
                 a closed and securely fastened case, or gunbox, and is not visible from
                 outside of the vehicle, or is locked unloaded in the trunk or storage area
                 of the vehicle.

           A violation of paragraph (1) or (2) of this subsection is a crime of the fourth
           degree.

      Pre-existing law already contains a smattering of prohibited places. For example,

N.J.S. 2C:39-5(e) prohibits possession of firearms “in or upon any part of the buildings

or grounds of any school, college, university or other educational institution . . . .”

N.J.A.C. 7:2–2.17(b) already contains certain prohibitions on the possession of firearms

and other weapons “while on State Park Service property without the specific approval

of the Superintendent or designee.” And, N.J.A.C. 13:69D–1.13 already contains


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prohibitions on the possession of firearms and other weapons “within a casino . . . without

the express written approval of the Division.” To the extent this provision operates to the

same unconstitutional effect as A4769, Plaintiffs bring the same challenges to N.J.A.C.

13:69D–1.13 as A4769.

      Pre-existing New Jersey fish and game regulations also have several

unconstitutional firearm prohibitions sprinkled throughout. N.J.A.C. 7:25–5.23(m)

prohibits the simultaneous possession of both a bow and a firearm while hunting. Thus,

bow hunters are denied the right to carry as a matter of course. N.J.A.C. 7:25–5.23(i)

prohibits firearm possession “within the limits of a state game refuge unless authorized

by the Division.” N.J.A.C. 7:25–5.23(a), (c), and (f) restrict the type of ammunition a

person may possess while “in the woods, fields, marshlands, or on the water,” or while

hunting various game. These prohibitions preclude possession of defensive handgun

ammunition and therefore entirely prohibit the carry of a handgun for self-defense—the

very fundamental right protected under Bruen. Notably, these rules do not merely

regulate what ammunition can be used for hunting but rather they regulate mere

possession regardless of use.

      N.J.A.C. 7:25–5.23(f)(5) of the fish and game regulations prohibits possession of

a firearm in a vehicle unless it is “enclosed in a securely fastened case.”

      These provisions operates to the same unconstitutional effect as A4769, and Plain-

tiffs bring the same challenges as to each of them.

      Rather than identify the rare exceptions to the right to carry a handgun in public,

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A4769 is so sweeping and comprehensive as to make it largely impossible for most peo-

ple to carry a handgun during the course of their typical day—a direct affront to the fun-

damental constitutional right to bear arms as made clear by the Supreme Court in Bruen.

142 S. Ct. at 2133-34. A4769 is merely “justifiable need” by a new name.

      Pursuant to A4769 Section 12, the provisions of Section 7 took effect immediately

upon A4769 being signed into law, and therefore Plaintiffs urgently need a temporary

restraining order enjoining the unconstitutional provisions of Section 7 as well as the

foregoing unconstitutional provisions of pre-existing law.

      2.     Insurance Coverage Requirement

      Section 4 of A4769 also creates a costly and onerous insurance requirement as a

predicate to exercise of the right to bear arms—one with no precedent in American

history:

   a. Every private citizen who carries a handgun in public in this State shall
      maintain liability insurance coverage insuring against loss resulting from
      liability imposed by law for bodily injury, death, and property damage sustained
      by any person arising out of the ownership, maintenance, operation or use of a
      firearm carried in public wherein such coverage shall be at least in an amount or
      limit of $300,000, exclusive of interest and costs, on account of injury to or death
      of more than one person and for damage to property, in any one incident.
      [Emphasis added.]

      Imagine requiring a person to purchase an insurance policy to go to church, post

videos on the internet, publish a blog, or give a speech. This insurance requirement is just

another way to discourage the exercise of a fundamental constitutional right that is

disfavored by State of New Jersey.


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      Pursuant to A4769 Section 12, this provision take effect on the first day of the

seventh month next following the date of enactment, which based on the enactment date

of December 22, 2022, will be July 1, 2023.

      3.     Fee Increases

      Prior law imposed a $50 fee for obtaining a Handgun Carry Permit (see N.J. Ct. R.

1:43). Section 3 of A4769 increases the total fees required to obtain a permit by amending

N.J.S. 2C:58-4(c) to require payment of to “a $200 application fee.” This four-fold

increase of the associate permit fee is plainly calculated to discourage the exercise of the

right to bear arms. Notably, the Legislature does not even claim that this increase is linked

to an increase in the legitimate cost of issuing permits. While a portion of that fee “shall

be used to defray the costs of investigation, administration, and processing of the permit

to carry handgun applications,” another portion—$50—“shall be deposited into the

Victims of Crime Compensation Office account.” Compensating victims of crime is no

doubt a worthy goal, but the State may not do so by effectively taxing the exercise of a

constitutional right See, e.g., Simmons v. United States, 390 U.S. 377, 393–94 (1968).

      Section 2 of A4679 also increases the fees just to acquire and possess a firearm.

In addition to requiring a permit to carry a firearm, New Jersey also requires an individual

to obtain a Firearms Purchaser Identification Card (“FID”) to purchase and possess a rifle

or a shotgun and a Permit to Purchase a Handgun (“Purchase Permit”). See N.J.S. 2C:58-

3(f). Under A4679, the fee for a rifle or shotgun FID has increased tenfold from $5 to



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$50, and the fee for a handgun Purchase Permit has increased more than tenfold from $2

to $25. As with the fee increases for a Carry Permit, the Legislature concedes these new

fee scales are not necessarily based on increased expenses associated with legitimate costs

of issuance: “If the permit is issued by the superintendent,” then “[a]ll fees, shall be paid

to the State Treasury for deposit into the Victims of Crime Compensation Office

account.”   Pursuant to A4769 Section 12, these massive fee increases took effect

immediately upon A4769 being signed into law.

      4.     Onerous New Application Requirements

      Section 2 and 3 of A4769 also add onerous new provisions to the process of

obtaining an FID or Purchase Permit and a Handgun Carry Permit. And because N.J.S.

2C:58-4(c) requires that an applicant for a Handgun Carry Permit not be “subject to any

of the disabilities set forth in subsection c. of N.J.S.2C:58-3,” all of the onerous new

provision applicable to FIDs and Purchase Permits also apply to Handgun Carry Permits.

      Section 2 of A4769 amends N.J.S. 2C:58-3 to add additional disqualifications for

obtaining an FID, a Purchase Permit, and a Handgun Carry Permit. Whereas prior law

disqualified an applicant if issuance would “not be in the interest of the public health,

safety or welfare,” the new provision also disqualifies an applicant “found to be lacking

the essential character of temperament necessary to be entrusted with a firearm.” It also

provides a basis for denial where a person is:

      known in the community in which the person lives as someone who has
      engaged in acts or made statements suggesting the person is likely to

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      engage in conduct, other than justified self-defense, that would pose a
      danger to self or others,

      A4769 made similar additions to N.J.S. 2C:58-4 to provide:

      The chief police officer, or the superintendent, as the case may be, shall
      interview the applicant and the persons endorsing the application under
      subsection b. of this section, and shall make inquiry concerning, and
      investigate to the extent warranted, whether the applicant is likely to engage
      in conduct that would result in harm to the applicant or others, including, but
      not limited to, whether the applicant has any history of threats or acts of
      violence by the applicant directed toward self or others or any history of use,
      attempted use, or threatened use of physical force by the applicant against
      another person, or other incidents implicating the disqualifying criteria set
      forth in subsection c. of N.J.S.2C:58-3, including but not limited to
      determining whether the applicant has been subject to any recent arrests or
      criminal charges for disqualifying crimes or has been experiencing any mental
      health issues such as suicidal ideation or violent impulses, and the applicant’s
      use of drugs or alcohol. [Emphasis added.]

      The foregoing additions are already impermissibly subjective. But to make matters

worse, the law creates a new onerous interview process not merely for the applicant

herself but also four of her references. Section 3, which amended N.J.S.2C:58-4(b), does

much the same thing, imposing substantial affirmative obligations on an applicant’s

references:

      The application shall be signed by the applicant under oath, and shall
      be endorsed by not less than four reputable persons who are not related by
      blood or by law to the applicant and have known the applicant for at least three
      years preceding the date of application, and who shall certify thereon that the
      applicant has not engaged in any acts or made any statements that suggest the
      applicant is likely to engage in conduct, other than lawful self-defense, that
      would pose a danger to the applicant or others. The reputable persons also
      shall provide relevant information supporting the certification, including the
      nature and extent of their relationship with the applicant and information
      concerning their knowledge of the applicant’s use of drugs or alcohol.

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      These amended provisions, increasing the number of required references from

three to four, requiring them to sit for a character interview, and essentially demanding

that they provide an essay to investigating authorities, are hard to fathom in a different

scenario—like requiring the submission of essays as a condition for being allowed to

operate a church or publish a newspaper or put on a parade. Taken together, they are

obviously designed to make an already cumbersome process so burdensome on the

rightsholder and her family and friends so that they might become too discouraged to

even make the effort to exercise a fundamental constitutional right.

      The law also invites the permitting authority to engage in a fishing expedition:

      The chief police officer or the superintendent may require such other
      information from the applicant or any other person, including but not limited
      to publicly available statements posted or published online by the applicant,
      as the chief police officer or superintendent deems reasonably necessary to
      conduct the review of the application.

      This invites the exercise of unbridled discretion for the investigating official to

compel a limitless production of information, including private social media postings

protected by the First Amendment and an entire lifetime of information, as well as to

exercise uneven and disparate treatment of applicants merely because the officer deems

it “reasonably necessary”—all to exercise a fundamental constitutional right.

      If all of that were not bad enough, N.J.S. 2C:58-4 requires that Handgun Carry

Permits be renewed every two years, thus requiring all applicant to submit to this

inquisition every other year. Pursuant to A4769 Section 12, these onerous new permit

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requirements took effect immediately upon A4769 being signed into law.

      5.     Novel and Undefined Offense of “Unjustifiable Display”

      Section 5(a)(5) of A4769 creates a new, unconstitutionally vague, fourth degree

crime called “unjustified display of a handgun.” Other parts of A4769 indicate what a

person is required to do and not do when in possession of a handgun pursuant to a

Handgun Carry Permit issued pursuant to N.J.S. 2C:58-4, but nothing in the statute gives

a person any idea what constitutes the wholly independent and novel statutory crime.

Pursuant to A4769 Section 12, the provisions of A4769 Section 5 take effect on the first

day of the seventh month next following the date of enactment, which based on the

enactment date of December 22, 2022 will be July 1, 2023.

      6.     Discriminatory Treatment Among Rights Holders

      Finally, as if to add insult to injury, in blatant violation of the Equal Protection

Clause of the Fourteenth Amendment, A4769 creates a special gold-plated category of

individuals who warrant special treatment under the law: judges, prosecutors, and

attorneys general. Section 8 of A4769 creates a whole new exemption under N.J.S

.2C:39-6, exempting judges and prosecutors from not only the so-called “sensitive place”

restrictions in A4769 section 7 but from all of the firearm restrictions in N.J.S 2C:39-5.

      Accordingly, not only can judges, prosecutors, and attorneys general carry

handguns into schools, museums, zoos, and casinos, but they can carry machine guns into

all of those places now as well (see N.J.S. 2C:39-5(a)). Perhaps New Jersey thinks that,



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to the extent these officials are gun owners, they are likely to be law-abiding ones. One

can certainly hope that is true. But New Jersey has no license to assume that the remainder

of the law-abiding population as a whole is unlikely to bear arms lawfully as well.

Pursuant to A4769 Section 12, the provisions of A4769 Section 8 take effect on the first

day of the seventh month next following the date of enactment, which based on the

enactment date of December 22, 2022 will be July 1, 2023.

      Taken as a whole, A4769 can be seen exactly for what it is. Having lost the ability

to prevent ordinary individuals from exercising their fundamental constitutional right to

carry handguns in public for self-defense by forcing them to show to the arbitrary

satisfaction of a public official that they really “need” to do so, Governor Murphy and the

New Jersey Legislature have thrown together the worst, most onerous, and most

prejudicial new provisions to effectively resurrect the “justifiable need” regime.

D.    A4769 Will Predictably Burden Plaintiffs’ Ability to Exercise Their Second
      Amendment Rights.

      The individual Plaintiffs are seven law abiding New Jerseyans who simply wish to

exercise their fundamental constitutional right to keep and bear arms for their safety, the

safety of their loved ones, and the safety of their communities.5

      Plaintiffs are law abiding New Jerseyans who believe that possession and carry of



5
 Plaintiffs’ facts are fully set forth in the Declarations of Aaron Siegel, Jason Cook,
Joseph DeLuca, Nicole Cuozzo, Timothy Varga, Christopher Stamos, Kim Henry, and
Scott Bach.

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firearms is an important aspect of protecting themselves and their families from the risk

of violent crime. Plaintiffs have obtained or are applying for Handgun Carry Permits

because they recognize that violent crime can take place anywhere, including when they

are outside the home.

      For example, Plaintiff Siegel is a member of the volunteer New Jersey Medical

Reserve Corps, which is a disaster response unit. He received a Certificate of Recognition

and Letter of Appreciation from the Sussex County Freeholders for his volunteer service

during Super Storm Sandy. Plaintiff Siegel previously served as an Emergency Medical

Technician in Paterson New Jersey. As a result, he understands that emergency personnel,

including police, are sometimes delayed, through no fault of their own, in their ability to

timely respond to emergencies. Thus, he understands that individuals experiencing

criminal violence are often required to provide for their own personal defense against

such attacks.

      Plaintiff Nicole Cuozzo is a member of the Bible Baptist Church in New Egypt,

New Jersey. Plaintiff Timothy Varga is a Deacon of the Grace Bible Church in Wall

Township, New Jersey and is a member of the church’s security team.

      Plaintiffs Cuozzo and Varga are both aware of mass shooting incidents which took

place at houses of worship around the United States, including the First Baptist Church

in Sutherland Springs, Texas, the Emanuel African Methodist Episcopal Church in

Charleston, South Carolina, and the Tree of Life Synagogue in Pittsburgh, Pennsylvania.



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      In particular, however, they are aware of the Freeway Church of Christ in Texas

where, in 2019, a volunteer parishioner armed with a concealed handgun successfully

ended an attack by an active shooter within six seconds after it began.

      Plaintiff Kim Henry is a part time substitute teacher and cancer survivor who cur-

rently lives on social security disability in Pemberton, New Jersey with her two children.

She has received numerous death threats from her ex-boyfriend and currently fears for

her life and the lives of her children. Plaintiff Henry does not currently own any firearms,

but she wishes to acquire firearms to protect her family.

      1.     Section 7(a)(6) – Prohibition on Carry Within 100 Feet of a Public
             Gathering Requiring a Government Permit.

      Plaintiffs Siegel, Cook, and DeLuca each sometimes attend or pass within 100 feet

of public gatherings and events, even if they are not actual attendees. But, none of them

knows which ones require a government permit as none of them organize any such

gatherings or events.

      2.     Section 7(a)(7),(8), (9), N.J.S. 2C:39-5(e) – Prohibition on Carry at a
             Schools and Daycares.

      Plaintiffs do not challenge the prohibition on schools, etc. per se. Plaintiff Siegel

take his son to Tae Kwan Do classes at a martial arts school near his home and also

bagpipe classes. The Tae Kwan Do school is in a strip mall which also contains other

stores and business that Plaintiff Siegel frequents. From time to time, he also takes con-

tinuing education classes for work hosted at various places, including but not limited to


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hospitals, training centers, restaurants with a license to serve alcohol, and catering halls.

      From time to time, both Plaintiff Cook and Plaintiff DeLuca take professional ed-

ucation classes for work. Plaintiff Cook also takes firearm training classes, and motorcy-

cle classes from time to time.

      Plaintiffs Cuozzo and Varga welcomed the Bruen decision because neither of their

churches can afford full time professional security to protect the members of the church

against the possibility of attack by an active shooter.

      Cuozzo’s church conducts services and other events most days of the week in ad-

dition to Sundays, and holds special events for the church members and the community

at large on holidays and other special days throughout the year.

      But in addition to services and other religious events, the church also conducts

Sunday school classes, adult bible classes, and a homeschool co-op in which parents who

homeschool their children bring their children together at the church for certain joint

events and learning programs.

      Varga’s church sits on a campus consisting of 14 acres of land with three buildings

(church sanctuary, school building, and gymnasium) totaling 47,000 square feet. The

school building and gymnasium building are leased to the Ambassador Christian Acad-

emy. The church holds formal prayer services in the sanctuary building on Sundays and

Wednesdays with less formal prayer meetings on Tuesdays. Several days during the week

the church also holds bible study groups for adults and children of all ages.



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      Throughout the year the church holds sports leagues and clinics, as well as special

seasonal or holiday events with hundreds or in some instances several thousand attendees.

Overall, the church is busy with events most days of the year. The church’s meager secu-

rity budget barely covers a handful of such events, and even those are inadequately

manned. Further, the funds used for the bare bones security budget could instead be used

for desperately needed additional administrative staff, clergy, or technology staff.

      Unfortunately, none of these key terms: school, educational institution, childcare

facility, day care, or pre-school are defined in A4769. While Plaintiff Varga knows that

a tradition school such as Ambassador Christian Academy on the campus of Grace Bible

Church is a prohibited place, Plaintiffs have no way of knowing whether other locations

such as the Tae Kwan Do classes, bagpipe classes, professional skills classes, motorcycle

classes, Sunday school/religious study groups, sports clinics, etc. fall within the criminal

prohibitions of the law.

      Further, the activities of the Tae Kwan Do school and the various activities which

take place on these church properties take place on multi-use properties. A4769 Section

7 prohibits carry on “any part of the buildings, grounds, or parking area” of any of the

prohibited locations. Therefore, if any of the foregoing activities qualifies as a school,

etc., under this law, carry would be prohibited in all parts of the church campuses and

buildings, and in every store or business in the same strip mall as the Tae Kwan Do school,

bagpipe school, or any other such potentially prohibited place.



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      Thus, many places not actually on the list of prohibited places, such as churches,

synagogue, mosques, tailor shops, pizza shops, card stores, etc. are now all places where

Plaintiffs and all other like them cannot carry. A4769 paints with an incredibly vast and

broad brush.

      3.       Section 7(a)(9) – Prohibition on Carry at a Zoo.

      Plaintiff Siegel frequently takes his son to the Turtle Back Zoo in West Orange,

New Jersey and the Van Saun Zoo in Paramus, New Jersey. Plaintiff Cook enjoys the

Popcorn Park Zoo in Forked River, New Jersey, the Adventure Aquarium in Camden,

New Jersey, and Jenkinson’s Aquarium in Point Pleasant Beach, New Jersey. From time

to time, Plaintiff DeLuca enjoys the Cape May Zoo. Under A4769, none of these plaintiffs

can defend themselves (including any children they may have with them) while enjoying

a family outing to learn about wild animals.

      4.       Section 7(a)(10); N.J.A.C. 7:2–2.17(b) – Prohibition on Carry at Parks
               and Recreational Facilities.

      Plaintiff Siegel frequently hikes and walks his dog in public parks near his home

and goes to publicly owned beaches, including in Wildwood, New Jersey.

      Plaintiff Cook enjoys walking trails in State parks, and during the summer enjoys

walks or fishing at public beaches in Seaside, Avon, Belmar, Point Pleasant, and Ma-

nasquan. Because his grandparents lived in Union County, he has spent a great deal of

time in Union County over the years. He still enjoys spending time at Galloping Hill Park

in Kenilworth several times per year. He has a one year-old-nephew that he will take his

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nephew to public playgrounds near his home when he is older.

      Plaintiff DeLuca regularly enjoys walking his dog in State parks such as Wharton

State Forest and Black Run Preserve, and regularly enjoys public beaches in New Jersey.

      Plaintiff Stamos annually accompanies his wife when she participates in the “Pad-

dle the Peninsula” kayak event at Bayonne’s 16th Street Park and otherwise enjoys the

park several times per year, including when the park hosts its Renaissance Festival and

Irish Festival. Several years ago, Bayonne converted the park’s kayak launch area into a

beachfront by constructing a sandy beach area for public recreation. He also, from time

to time, takes his young nephews to Bayonne’s Cottage Street Park.

      Under A4769, none of these Plaintiffs can defend themselves or their family while

spending time together enjoying surrounding nature.

      5.    Section 7(a)(11) – Prohibition on Carry at Youth Sports Events.

      Plaintiff Siegel takes his son to participate in youth Tae Kwan Do competitions.

      6.    Section 7(a)(12) – Prohibition on Carry at Public Library or Museum.

      Plaintiff Siegel frequently takes his son to public museums and the public library.

      7.    Section 7(a)(15) – Prohibition on Carry at Bar or Restaurant Where
            Alcohol is Served.

      Plaintiff’s Siegel, Cook, and DeLuca enjoy dining out at restaurants that serve al-

cohol but do not and would not consume alcohol if they were carrying their handguns.

      8.    Section 7(a)(17) – Prohibition on Carry at Entertainment Facility.

      Plaintiff Siegel goes to movie theatres with his family approximately one or two

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time per month. They also attend concerts at the Izod Center at the Meadowlands and at

the PNC Bank Arts Center in Holmdel, New Jersey. Plaintiff Siegel sometimes attends

New Jersey Devils Hockey games at the Prudential Center in Newark, New Jersey.

      Plaintiff Cook enjoys movie theatres and the Medieval Times theatre, as well as

theaters in Atlantic City. He also attends concerts at the Prudential Center, the PNC Bank

Arts Center, and the BB&T Pavilion in Camden, New Jersey and attends races several

times per year at Atco Dragway racetrack in Waterford Township, New Jersey.

      Plaintiff DeLuca regularly goes to movie theatres and theatres in Atlantic City and

also attend races at Atco Dragway.

      9.     Section 7(a)(18); N.J.A.C. 13:69D–1.13 – Prohibition on Carry at
             Casinos.

      Plaintiffs Siegel, Cook, and DeLuca regularly enjoy trips to the casinos in Atlantic

City, New Jersey. When they do so they enjoy gambling on the casino floors, dining in

the casino restaurants, attending shows in the casino theatres, and staying in the casino

hotels. Plaintiff DeLuca also visits a friend who lives on a boat in Farley State Marina. In

order to access the Marina he must traverse the property of the Golden Nugget Casino.

      10.    Section 7(a)(20) – Prohibition on Carry at Airport or Transportation
             Hub.

      When Plaintiff Siegel attend Devils games in Newark, he sometimes takes the bus

or train to Newark. If he takes the train, his trip terminates at Newark Penn Station. From

time to time Plaintiff Siegel drives his friends and family and drops them off or picks


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them up from Newark Airport.

      At least once per month, Plaintiff Cook drives family members and drops them off

or picks them up at Newark or Atlantic City Airport. Plaintiff Cook enjoys snowboarding

and skiing. Every few years, he travels to New Hampshire and is planning a trip to Utah

next year. He is licensed to carry a handgun in both New Hampshire and Utah, and on

some of these trips he will fly and wishes to bring his handgun with him to carry for

protection. If he brought his handgun with him during air travel, he would declare his

handgun unloaded and properly cased and packed at the airline ticket counter as required

by federal law (49 C.F.R. § 1540.111), but A4769 prevents him from doing so.

      On occasion Plaintiff DeLuca takes a PATCO train from Ashland Station in Voor-

hees, New Jersey to Philadelphia, Pennsylvania. Plaintiff DeLuca is licensed to carry a

handgun in Pennsylvania.

      11.    Section 7(a)(21), (22) – Prohibition on Carry at Health Care and
             Treatment Facilities.

      In the course of his employment as a nurse practitioner, Plaintiff Siegel works var-

iously at medical offices and medical boarding homes, including, but not limited to, Sky-

lands Urgent Care in Lake Hopatcong and Free Clinic Newton, in Newton, New Jersey,

where he works as a volunteer. Further, some of his continuing education classes take

place at hospitals.

      Prior to the passage of A4769, on several occasions, Plaintiff Cook lawfully carried

his handgun at medical appointments, but only those medical appointments that did not

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require that he disrobe, so that he could maintain safe possession and control of his hand-

gun at all times.

      12.    Section 7(a)(23) – Prohibition on Carry at Public Filming Location.

      Anyone can encounter a place where motion picture or television images are being

made while out in public, including television news coverage. Plaintiffs Siegel and Cook

have done so multiple times in the past. In each instance, Plaintiff Cook approached the

location to inquire about the production and to determine if he recognized any of the

actors or personalities involved. Plaintiff Siegel did so on some of those occasions. Both

would again in the future approach such locations in the same manner if he encountered

them to see what film or television show was being filmed.

      13.    N.J.A.C. 7:25–5.23(m); N.J.A.C. 7:25–5.23(i); N.J.A.C. 7:25–5.23(a), (c),
             and (f); N.J.A.C. 7:25–5.23(f)(5) – Prohibition on Carry Under Fish and
             Game Regulations.

      Plaintiff Siegel takes his son hunting in the woods and fields of New Jersey.

      14.    Section 7(a)(24) – Prohibition on Carry on Private Property without
             Express Consent or Signage.

      Some of the foregoing places frequented by Plaintiffs are private property. Further,

Plaintiff Siegel is divorced, and his son is from his first marriage. He shares custody of

his son with his ex-wife, and picks his son up and drops him off at his ex-wife’s

condominium property. In doing so, he must drive and walk on condominium common

elements. Plaintiffs all regularly frequent other private property, and none of the owners

of the foregoing or other private property on which they would otherwise carry has


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provided express consent or has posted the required sign granting permission. Notably, it

is the owner that must provide consent, not the tenant. Thus a business owner cannot even

consent to their customers carrying.

      Further, Plaintiffs Cook and DeLuca are private homeowners. They would allow

the carry of handguns on their property, but they do not want to have to post a sign on

their property explicitly saying so.

      15.    Section 7(b) – Prohibition on Carry in a Vehicle.

      Plaintiffs Siegel, Cook, and DeLuca drive their cars nearly every day for both work

and personal reasons. The prohibition on carry in a vehicle would force them to remain

unarmed while in their cars and also force them to actively load and unload a handgun in

view of the public in a parking lot or in an on-street parking space.

      Plaintiff Siegel sometimes takes the bus or train to Newark to attend Devils games

in Newark. Plaintiff DeLuca takes a PATCO train from Ashland Station in Voorhees,

New Jersey to Philadelphia, Pennsylvania where he is licensed to carry a handgun.

      Plaintiffs Cook and DeLuca also regularly ride motorcycles, but have no means to

secure their handguns unloaded and locked away while riding or while parked in a

parking lot at a prohibited location, both as required by Section 7(b).

      Plaintiff DeLuca also rides a bicycle but has no means to secure his handgun

unloaded and locked away while riding or while parked in a lot at a prohibited location,

both as required by Section 7(b). He also owns a boat which he sometimes uses.



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      16.    Section 4 – Insurance Requirement.

      All Plaintiffs will be required to carry insurance in order to carry their handguns

pursuant to their Handgun Carry Permits.

      17.    Sections 2 and 3 – Fees and Onerous Permitting Requirements.

      Plaintiffs Siegel, Cook, and Henry intend to apply for Purchase Permits and will

therefore be subject to the all of the new requirements of N.J.S. 2C:58-3, including the

vastly increased fee.

      Plaintiff Henry intends to apply for an FID and will therefore be subject to the all

of the new requirements of N.J.S. 2C:58-3, including the vastly increased fee.

      All of the Plaintiffs will be required to renew their Handgun Carry Permits every

two years and will therefore be subject to the all of the new requirements of N.J.S. 2C:58-

4, including the increased fee and the substantive standards of N.J.S 2C:58-3.

      18.    Sections 8 – Special Elite Status for Judges, Prosecutors, and Attorneys
             General.

      None of the Plaintiffs are judges, prosecutors, or attorneys general and therefore

none will enjoy the special elite exemptions available to those categories of individuals.

      ANJRPC has members, including all of the Plaintiffs, who engage or wish to

engage in all of the foregoing activities.

      As a result of the foregoing prohibitions, Plaintiffs and members of ANJRPC

can carry their handgun virtually nowhere outside of their homes and are subject to

onerous and unlawful requirements merely exercise their fundamental right to keep


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and bear arms. A4769 is so comprehensive in where it bans the carry of handguns,

primary bill sponsor Assemblyman Joe Danielsen was asked by his colleague Assem-

blywoman Victoria Flynn where could a person carry her handgun. Danielsen’s answer:

“My job is not to tell you where guns can go.”             https://njleg.state.nj.us/archived-

media/2022/AJU-meeting-list/media-player?committee=AJU&agendaDate=2022-10-

17-10:00:00&agendaType=M&av=A at marker 50:25 to 51:33.

      And, in fact, the sponsors of A4679 have repeatedly been asked where a person

could actually lawfully carry a handgun under this law. The sponsors have steadfastly

refused to answer.

                                       ARGUMENT

      A plaintiff seeking a temporary retaining order or a preliminary injunction must

demonstrate (1) a likelihood of success on the merits and (2) a prospect of irreparable

injury if the injunction is not granted. Reilly v. City of Harrisburg, 858 F.3d 173, 176

(3d Cir. 2017), as amended (June 26, 2017). In addition, “the district court . . . should

take into account, when they are relevant, (3) the possibility of harm to other interested

persons from the grant or denial of the injunction, and (4) the public interest.” Id. Here,

all four factors favor issuing a preliminary injunction.

      First and foremost, plaintiffs are very likely to succeed on the merits, as A4769

is a direct affront to the Second Amendment in multiple respects. It imposes crushing

financial penalties on the exercise of Second Amendment rights, including forcing law-



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abiding citizens to pay massive fees and even purchase liability insurance—insurance

that does not even presently exist—just to exercise those rights. The act creates onerous

new hurdles in the permit process, requiring personal interviews of the applicant and

her references, as well as demanding that references prepare what amounts to an essay

in support of the application. And on top of all that, the law defines “sensitive places”

in a way that is utterly divorced from historical traditional and effectively makes it

impossible to carry firearms in New Jersey.

      None of that can be reconciled with the Supreme Court’s recent and unambiguous

teachings in Bruen. And all of it threatens plaintiffs with obvious irreparable harm.

This Court should grant immediate relief and stop New Jersey’s latest effort to prevent

Plaintiffs and other law-abiding citizens from exercising the fundamental rights that the

Supreme Court has repeatedly made clear the Second Amendment protects.

I.    Plaintiffs Are Likely To Succeed on the Merits of Their Second Amendment,
      First Amendment, Due Process, and Equal Protection Claims.

      Establishing likelihood of success on the merits “requires a showing significantly

better than negligible but not necessarily more likely than not.” Id. at 179. Although

Plaintiffs bear the burden of demonstrating their entitlement to preliminary equitable

relief, where the State bears the burden of proof on the “ultimate question,” plaintiffs

“must be deemed likely to prevail unless the Government has shown” that it can carry

that burden. Ashcroft v. ACLU, 542 U.S. 656, 666 (2004).




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      A.       Plaintiffs Are Likely To Succeed on the Merits of Their Second
               Amendment Claims.

      The Second Amendment to the U.S. Constitution provides: “A well regulated

Militia, being necessary to the security of a free State, the right of the people to keep and

bear Arms, shall not be infringed.”

      In Bruen, the Supreme Court clarified the test to be applied under the Second

Amendment: “When the Second Amendment’s plain text covers an individual’s conduct,

the Constitution presumptively protects that conduct.” 142 S. Ct. at 2129–30. “The

government must then justify its regulation by demonstrating that it is consistent with the

Nation’s historical tradition of firearm regulation. Only then may a court conclude that

the individual’s conduct falls outside the Second Amendment’s ‘unqualified command.’”

Id. at 2130.

      Carrying handguns in public—the very activity at issue in Bruen— plainly falls

within the text of the Second Amendment. Id. at 2134-35. Therefore, Defendants bear the

burden to demonstrate that A4769 and the challenged pre-existing prohibitions on carry

are consistent with the historical tradition of firearm regulation. Id. at 2130.

      Consistency with historical tradition requires comparing the challenged regulation

with regulations that existed at the time of the Founding. “[W]hen a challenged regulation

addresses a general societal problem that has persisted since the 18th century, the lack of

a distinctly similar historical regulation addressing that problem is relevant evidence that

the challenged regulation is inconsistent with the Second Amendment.” Id. at 2131.


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      Here, the societal problem sought to be addressed by A4769 and New Jersey’s

prohibitions on handgun carry is the same as it was in Bruen and in Heller: “handgun

violence,” primarily in “urban area[s].” Id. Similarly, the nature of the prohibitions and

rules challenged here are exactly the same as in Bruen: to restrict the ability of individuals

to carry handguns in public for self-defense. Defendants thus are not entitled to resort to

reasoning by historical analogy, as Bruen leaves that path only only for “unprecedented

societal concerns,” “dramatic technological changes,” or “modern regulations that were

unimaginable at the founding.” Id. at 2132. Restricting possession and carry of handguns

in the various public places New Jersey has identified involves none of those things.

      To the contrary, all the restricted places its vast sweep encompasses existed or

had clear parallels in the 18th Century. Just as the Second Amendment applies equally

to modern arms as 18th Century arms, see Heller, 554 U.S. at 582; Caetano v.

Massachusetts, 577 U.S. 411, 411-12 (2016), so, too, it applies equally to modern parks

and 18th Century parks, to modern theatres and 18th Century theatres, to modern vehicles

and 18th Century vehicles. There is no constitutional difference between the Boston

Common of the 18th Century and today’s 16th Street Park in Bayonne. There is no

constitutional difference between the John Street Theatre of colonial New York and the

PNC Bank Arts Center. There is no constitutional difference between a horse, a carriage,

a train, a car, a bus, or a motorcycle.

      Therefore, Defendants cannot resort to historical consistency by analogy. Rather,

they must show that these same types of restrictions and requirements were part of the

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historical tradition in or about 1791. They will not be able to do so, as several federal

courts in New York have already found. See Hardaway v. Nigrelli, 2022 WL 16646220

(W.D.N.Y. Nov. 3, 2022); Antonyuk v. Hochul, 2022 WL 16744700 (W.D.N.Y.

November 7, 2022); Christian v. Nigrelli, 2022 WL 17100631 (W.D.N.Y.).

      As the Supreme Court explained in Bruen, “the historical record yields relatively

few 18th- and 19th-century “sensitive places” where weapons were altogether

prohibited—e.g., legislative assemblies, polling places, and courthouses . . . .” 142 S.Ct.

at 2133. As those limited examples reflect, the only restrictions on being armed in public

found in the historical tradition related to places where the function of governing takes

place, so as to prevent “Violence or Force being used at the [] Elections” or “violent

intimidation of the courts of justice.” D. Kopel & J. Greenlee, The “Sensitive Places”

Doctrine, 13 Charleston L. Rev. 205, 233-34, 244-45 (2018).

      Accordingly, Defendants will be unable to show any historical tradition for the

challenged prohibited places: public gathering – 7(a)(6); zoo – 7(a)(9); recreational

facility – 7(a)(10); youth sports event – 7(a) (11); public library or museum – 7(a)(12);

place where alcohol is served without regard to consumption – 7(a)(15); entertainment

facility – 7(a)(17); casino – 7(a)(18); airport or transportation hub (non-secure areas) –

7(a)(20); health care or treatment facility – 7(a)(21), (22); public filming location –

7(a)(23); hunting and fishing areas; private property – 7(a)(24); vehicles – 7(b).

      Defendants will also be unable to show any historical tradition for a breadth of

prohibition that makes the entirety of a multi-use property prohibited, such as a church

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with a school or even just Bible studies on the same campus, or an entire strip mall with

a single prohibited location on it.

      Defendants cannot show any historical tradition for imposing an insurance

requirement, nor the subjective permit qualifiers and multiple interviews, reference

essays, and open-ended discovery in N.J.S. 2C:58-3 and 4 as a condition to exercising

the right to keep and bear arms. To the contrary, the Court was clear in Bruen that

licensing may only involve “narrow, objective, and definite standards.” 142 S. Ct. at

2138 n.9.

      Finally, Defendants will be unable to support the exorbitant increase in fees. First,

because some of the fees go to the Victims of Crime Compensation Office, they are

plainly unconstitutional under Cox v. New Hampshire, 312 U.S. 569, 577 (1941). Any

fee imposed on the exercise of a constitutional right must be designed solely “to meet

the expense incident to the administration of the act and to the maintenance of public

order in the matter licensed.” Id. See also Murdock v. Pennsylvania, 319 U.S. 105, 113

(1943). Forcing law-abiding citizens to shoulder the burden of compensating victims

of gun crimes just because they choose to exercise their Second Amendment rights

manifestly does not meet that standard.

      Further, however, for Defendants to even avail themselves of the Cox rule, the

underlying administration cost must itself be constitutional. If this were not so, a State

could easily suppress political rallies by mandating 10,000 police officers at every rally



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and then charging the organizer the associated astronomical fee.

      In the context of the Second Amendment, that means that the costs of

administration sought to be offset (i.e. licensing costs) must be consistent with the

historical tradition of firearm regulation. 142 S. Ct. at 2129-30. Defendants will not be

able to show that the excessive administrative cost of New Jersey’s idiosyncratically

costly licensing process meets that standard.

      B.     Plaintiffs Are Likely To Succeed on the Merits of Their First
             Amendment Claims.

      Several provisions of A4769 plainly violate the First Amendment. First, the

interview requirement compels the contents of an applicant’s protected speech,

demanding information from the applicant or any other person, including but not limited

to publicly available statements posted or published online by the applicant, as the chief

police officer or superintendent deems reasonably necessary. The law also compels the

disclosure of the names and contact information of no less than four character references,

who in turn must be willing attest that such applicant has not engaged in any acts or made

any statements that suggest the applicant is likely to engage in conduct, other than lawful

self-defense, that would pose a danger to the applicant or others and provide relevant

information supporting the certification, including the nature and extent of their

relationship with the applicant and information concerning their knowledge of the

applicant’s use of drugs or alcohol.

      This chills the applicant’s ability and willingness to speak on the internet, speak


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privately and/or anonymously, or enter into intimate or private relationships. Thus,

A4769 conditions the right to carry a firearm upon a person engaging in only government-

approved speech and association. The exercise of one constitutional right cannot be

conditioned on the forfeiture or violation of another. See, e.g., Simmons, 390 U.S. at 393–

94 (It is “intolerable that one constitutional right should have to be surrendered in order

to assert another.”).

      Second, the private property reverse presumption in Section 7(a)(24)

impermissibly compels the speech of property owners and lessees. It requires property

owners and lessees to espouse a belief one way or the other on the carriage of firearms

outside the home by requiring them to expressly consent or post a sign. Plaintiffs are each

homeowners and they each wish to allow the carry of handguns in their homes without

posting a sign or engaging in express speech.

      The First Amendment prohibits the State from telling people what they must say.

See Nat'l Inst. of Fam. & Life Advocs. v. Becerra, 138 S. Ct. 2361, 2371 (2018).

      Finally, the ban in Section 7(a)(12) on carry in libraries violates the First

Amendment right to access libraries, Kreimer v. Town of Morristown, 958 F.2d 1242,

1255 (3d Cir. 2015), because it forces individuals to chose between foregoing their First

Amendment rights and foregoing their Second Amendment rights. Simmons, 390 U.S. at

393–94.




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      C.     Plaintiffs Are Likely To Succeed on the Merits of Their Due Process
             and Vagueness Claims.

      “[T]he void-for-vagueness doctrine requires that a penal statute define the criminal

offense with sufficient definiteness that ordinary people can understand what conduct is

prohibited and in a manner that does not encourage arbitrary and discriminatory

enforcement” Kolender v Lawson, 461 U.S. 352, 357 (1983); id. at 358 (The arbitrary

enforcement is “the more important aspect of the vagueness doctrine.”); Connally v. Gen.

Constr. Co., 269 U.S. 385, 391 (1926). A law that burdens constitutional rights or that

imposes criminal penalties must meet a higher standard of specificity than a law that

merely regulates economic concerns. Hoffinan Estates v. Flipside, Hoffman Estates, Inc.,

455 U.S. 489, 498-99 (1982). This higher standard applies here because the laws at issue

are criminal. In addition, a higher standard also applies because the subject matter of the

regulated conduct implicates the fundamental constitutional right to keep and bear arms.

      As set forth above, several of A4769’s provisions are either too vague for a

reasonable person to ascertain what is prohibited, require the discernment of facts not

at a person’s disposal, or encourage arbitrary discretion by public officials. For example,

subjective criteria in N.J.S. 2C:58-3 deny permits “To any person”:

   known in the community in which the person lives as someone who has engaged
   in acts or made statements suggesting the person is likely to engage in conduct,
   other than justified self-defense, that would pose a danger to self or others,

   [or] where the issuance would not be in the interest of the public health, safety or
   welfare because the person is found to be lacking the essential character of
   temperament necessary to be entrusted with a firearm.


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      These criteria are standardless and vague and therefore they invite arbitrary

application.

      Just as problematic, key terms for some sensitive places—like “school” and

“educational institution”—are undefined, rendering it impossible to know whether those

terms include karate lessons, bagpipe lessons, continuing professional education,

Sunday school, Bible studies, motorcycle classes, or a parents’ home schooling co-op.

      Likewise, the term “vehicle” in Section 7(b)(1) is undefined. Therefore a person

cannot know whether the vehicle restrictions apply only to cars or also to buses, trains,

motorcycles, bicycles, boats, scooters, skateboards, etc.

      And Section 7(a)(6) prohibits carrying a firearm:

      (6) within 100 feet of a place where a public gathering, demonstration or event is
      held for which a government permit is required, during the conduct of such gath-
      ering, demonstration or event;

      A typical person cannot know which events require a permit and therefore cannot

know how to avoid liability. In addition to being vague, Section 7(a)(6) fails to provide

notice. Because a typical person cannot know which events require a permit, Plaintiffs

cannot ascertain the facts necessary to avoid criminal liability.

      Section 5(a)(5) of A4769 creates a new, unconstitutionally vague, fourth degree

crime called “unjustified display of a handgun.”6


6
 Brandishing a firearm is already a crime under N.J.S. 2C:12-1(b)(4). Therefore, it is
difficult to imagine what act this vague new crime covers.

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      D.     Plaintiffs are Likely to Succeed on the Merits of Their Equal
             Protection Claims.

      The Equal Protection Clause is “essentially a direction that all persons similarly

situated should be treated alike.” City of Cleburne v. Cleburne Living Ctr., 473 U.S. 432,

439 (1985). Thus, a state can violate equal protection by drawing impermissible

distinctions among citizens even if, absent the impermissible distinction, the state would

have the power to enact the statute in question.

      “Classifications affecting fundamental rights are given the most exacting scrutiny.”

Clark v. Jeter, 486 U.S. 456, 461 (1988) (citation omitted). “[T]he right to keep and bear

arms [is] among those fundamental rights necessary to our system of ordered liberty,”

McDonald, 561 U.S. at 778. Because A4769 “establishes . . . classification[s] that

implicate[ ] fundamental rights[,] . . . [it] must meet strict scrutiny analysis,” Tolchin v.

Supreme Court of N.J., 111 F.3d 1099, 1114 (3d Cir. 1997), and it must be “narrowly

tailored to serve a compelling state interest,” Pemberthy v. Beyer, 19 F.3d 857, 870 n.18

(3d Cir. 1994) (quotation marks omitted).

      A4769 exempts judges, prosecutors, and attorney general from sensitive place

restrictions. For purposes of the sensitive place restrictions there are no relevant distinc-

tions between judges, prosecutors, and attorneys general and the people except for the

statute’s special exemption. Thus, both classifications involve groups similarly situated

in all relevant respects other than the distinction at issue. See Melrose, Inc. v. City of

Pittsburgh, 613 F.3d 380, 394 (3d Cir. 2010); Garcia v. Harris, 2016 WL 9453999, at *4


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(C.D. Cal. Aug. 5, 2016); see also Kolbe v. Hogan, 813 F.3d 160, 201 (4th Cir. 2016)

(Traxler, J., dissenting).

       That distinction cannot survive review because it is not narrowly tailored to

achievement of the State’s interest in public safety. After all, to the extent carrying a

firearm in a zoo ever poses a threat to public safety, the state offers no basis whatsoever

to believe that any risk of gun violence—whether intentional or accidental—dissipates

when the person carrying while strolling through the Tiger exhibit is a judge as opposed

to a law-abiding permit holder.

       The presumptive prohibition on private property also violates the Equal Protection

Clause. A4769 treats individuals differently solely based on whether or not they are

choosing to exercise their Second Amendment right to bear arms. If they do not so

choose, they are subject to ordinary New Jersey trespass law. If they do so choose, they

are subject to a special heightened legal standard that makes them a felon unless the

property owner has specially pre-approved their presence at the property.

      That distinction cannot survive strict scrutiny because it is not narrowly tailored to

achievement of the State’s interest in public safety.

II.   Plaintiffs Are Currently Suffering Irreparable Harm and Will Continue to
      Suffer Irreparable Harm if the Court Denies Relief.

      The conclusion that Plaintiffs have a reasonable probability of success on their

constitutional claims compels the conclusion that Plaintiffs face irreparable injury in the

absence of injunctive relief. It is well-accepted that the deprivation of a constitutional


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right constitutes irreparable harm. See, e.g., K.A. ex rel. Ayers v. Pocono Mountain Sch.

Dist., 710 F.3d 99, 113 (3d Cir. 2013). The Third Circuit has recognized this rule in the

context of a variety of constitutional rights. See, e.g., id. (First Amendment); Lewis v.

Kugler, 446 F.2d 1343, 1350 (3d Cir. 1971) (Fourth Amendment). Rights under the

Second Amendment are treated no differently. See Ezell v. City of Chicago, 651 F.3d 684,

699 (7th Cir. 2011); see also McDonald, 561 U.S. at 780.

III.   The Remaining Factors Favor Injunctive Relief.

       The public interest and balance of equities likewise favor Plaintiffs because

Plaintiffs are likely to succeed on their constitutional claims. “[I]t is always in the public

interest to prevent the violation of a party’s constitutional rights,” Connection Distrib.

Co. v. Reno, 154 F.3d 281, 288 (6th Cir. 1998), for “the enforcement of an

unconstitutional law vindicates no public interest,” K.A. ex rel. Ayers, 710 F.3d at 114;

Wrenn v. District of Columbia, 864 F.3d 650, 667 (D.C. Cir. 2017).

       On the other side of the scale, Defendants suffer little harm, as they have no valid

interest in enforcing New Jersey’s unconstitutional law and, as explained above, New

Jersey has never in its history chosen to impose these onerous restrictions. New Jersey

cannot claim that suddenly there is urgency in enforcing them now, for the first time in

the State’s history. Moreover, any potential harm resulting from an erroneous injunction

is “not extensive” in the context of an as-yet unenforced criminal law that threatens

constitutional rights. Ashcroft v. ACLU, 542 U.S. 656, 671 (2004). No prosecutions are

disrupted, and the Government remains free to enforce other, related laws. Id.

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      Finally, the balance of the equities generally favors parties seeking to preserve the

status quo. E.g., Hereas Materials Tech. LLC v. Pham, 2011 WL 13227724, *1 (E.D. Pa.

May 5, 2011); Ortho Pharm. Corp. v. Amgen, Inc., 882 F.2d 806, 813 (3d Cir. 1989) (the

“preservation of the status quo represents the goal of preliminary injunctive relief in any

litigation”). Granting Plaintiffs relief will merely maintain the status quo—or minimize

the change to the status quo—until the Court can fully adjudicate their claims.

                                     CONCLUSION

      This Court should issue a temporary restraining order and a preliminary injunction

prohibiting enforcement of the foregoing provisions of law.

Dated: December 23, 2022
                                                 Respectfully submitted,

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